 Case 2:20-cv-03877-DMG-AFM Document 41 Filed 08/31/20 Page 1 of 18 Page ID #:454


                                                            NOTE: CHANGES HAVE BEEN
 1   Dale J. Park (SBN 136158)                              MADE TO THIS DOCUMENT
     LAW OFFICES OF DALE J. PARK
 2   3333 Wilshire Boulevard, Suite 320                   “Alternative” footnotes have been struck
     Los Angeles, CA 90010
 3
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     EMAIL: daleparklawyer@gmail.com

 6
     Attorneys for Defendants
     DUC HEUNG GROUP, INC., JUSTIN BAEK and STEVE BAEK
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10

11
     KNATURE CO., INC.,                  ) Case No: 2:20-cv-03877-DDP-AFM
12                                       )
                 Plaintiff,              )
13                                       ) [proposed] STIPULATED
          Vs.                            ) PROTECTIVE ORDER
14                                       )
     DUC HEUNG GROUP, INC., a California )
15   Corporation, dba JB INTERNATIONAL; )
     JUSTIN BAEK, an individual; STEVE   )
16   BAEK, an individual; et al.         )
                                         )
17                Defendants.            )
                                         )
18

19
     1.     PURPOSES AND LIMITATIONS
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            Disclosure and discovery activity in this action are likely to involve production of
21
     confidential, proprietary, or private information for which special protection from public
22
     disclosure and from use for any purpose other than prosecuting this litigation may be
23
     warranted. Accordingly, the parties hereby stipulate to and petition the court to enter the
24
     following Stipulated Protective Order. The parties acknowledge that this Order does not
25
     confer blanket protections on all disclosures or responses to discovery and that the
26
     protection it affords from public disclosure and use extends only to the limited information
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     or items that are entitled to confidential treatment under the applicable legal principles.
28
     The parties further acknowledge, as set forth in Section 14.4, below, that this Stipulated

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                             STIPULATION FOR PROTECTIVE ORDER AND ORDER THEREON
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     Protective Order does not entitle them to file confidential information under seal; Local
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     Rule 79-5 sets forth the procedures that must be followed and the standards that will be
 3
     applied when a party seeks permission from the court to file material under seal.
 4   2.     DEFINITIONS
 5          2.1     Challenging Party: a Party or Non-Party that challenges the designation of
 6   information or items under this Order.
 7          2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it
 8   is generated, stored or maintained) or tangible things that qualify for protection under
 9   Federal Rule of Civil Procedure 26(c).
10          2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel
11   (as well as their support staff).
12          2.4     Optional: Designated House Counsel: House Counsel who seek access to
13   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information in this matter.
14          2.5     Designating Party: a Party or Non-Party that designates information or items
15   that it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or
16   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.
17          2.6     Disclosure or Discovery Material: all items or information, regardless of the
18   medium or manner in which it is generated, stored, or maintained (including, among other
19   things, testimony, transcripts, and tangible things), that are produced or generated in
20   disclosures or responses to discovery in this matter.
21          2.7     Expert: a person with specialized knowledge or experience in a matter
22   pertinent to the litigation who (1) has been retained by a Party or its counsel to serve as an
23   expert witness or as a consultant in this action, (2) is not a past or current employee of a
24   Party or of a Party’s competitor, and (3) at the time of retention, is not anticipated to
25   become an employee of a Party or of a Party’s competitor.
26          2.8     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information
27   or Items: extremely sensitive “Confidential Information or Items,” disclosure of which to
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                             STIPULATION FOR PROTECTIVE ORDER AND ORDER THEREON
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     another Party or Non-Party would create a substantial risk of serious harm that could not
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     be avoided by less restrictive means.
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            2.9     [intentionally omitted]
 4          2.10 House Counsel: attorneys who are employees of a party to this action. House
 5   Counsel does not include Outside Counsel of Record or any other outside counsel.
 6          2.11 Non-Party: any natural person, partnership, corporation, association, or other
 7   legal entity not named as a Party to this action.
 8          2.12 Outside Counsel of Record: attorneys who are not employees of a party to
 9   this action but are retained to represent or advise a party to this action and have appeared
10   in this action on behalf of that party or are affiliated with a law firm which has appeared on
11   behalf of that party.
12          2.13 Party: any party to this action, including all of its officers, directors,
13   employees, consultants, retained experts, and Outside Counsel of Record (and their
14   support staffs).
15          2.14 Producing Party: a Party or Non-Party that produces Disclosure or Discovery
16   Material in this action.
17          2.15 Professional Vendors: persons or entities that provide litigation support
18   services (e.g., photocopying, videotaping, translating, preparing exhibits or
19   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
20   their employees and subcontractors.
21          2.16 Protected Material: any Disclosure or Discovery Material that is designated
22   as “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
23   ONLY.”
24          2.17 Receiving Party: a Party that receives Disclosure or Discovery Material from
25   a Producing Party.
26   3.     SCOPE
27          The protections conferred by this Stipulation and Order cover not only Protected
28   Material (as defined above), but also (1) any information copied or extracted from

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     Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
 2
     Material; and (3) any testimony, conversations, or presentations by Parties or their Counsel
 3
     that might reveal Protected Material. However, the protections conferred by this
 4   Stipulation and Order do not cover the following information: (a) any information that is
 5   in the public domain at the time of disclosure to a Receiving Party or becomes part of the
 6   public domain after its disclosure to a Receiving Party as a result of publication not
 7   involving a violation of this Order, including becoming part of the public record through
 8   trial or otherwise; and (b) any information known to the Receiving Party prior to the
 9   disclosure or obtained by the Receiving Party after the disclosure from a source who
10   obtained the information lawfully and under no obligation of confidentiality to the
11   Designating Party. Any use of Protected Material at trial shall be governed by a separate
12   agreement or order.
13   4.     DURATION
14          Even after final disposition of this litigation, the confidentiality obligations imposed
15   by this Order shall remain in effect until a Designating Party agrees otherwise in writing or
16   a court order otherwise directs. Final disposition shall be deemed to be the later of (1)
17   dismissal of all claims and defenses in this action, with or without prejudice; and (2) final
18   judgment herein after the completion and exhaustion of all appeals, rehearings, remands,
19   trials, or reviews of this action, including the time limits for filing any motions or
20   applications for extension of time pursuant to applicable law.
21   5.     DESIGNATING PROTECTED MATERIAL
22          5.1     Exercise of Restraint and Care in Designating Material for Protection. Each
23   Party or Non-Party that designates information or items for protection under this Order
24   must take care to limit any such designation to specific material that qualifies under the
25   appropriate standards. To the extent it is practical to do so, the Designating Party must
26   designate for protection only those parts of material, documents, items, or oral or written
27   communications that qualify – so that other portions of the material, documents, items, or
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     communications for which protection is not warranted are not swept unjustifiably within
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     the ambit of this Order.
 3
            Mass, indiscriminate, or routinized designations are prohibited. Designations that
 4   are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
 5   to unnecessarily encumber or retard the case development process or to impose
 6   unnecessary expenses and burdens on other parties) expose the Designating Party to
 7   sanctions.
 8          If it comes to a Designating Party’s attention that information or items that it
 9   designated for protection do not qualify for protection at all or do not qualify for the level
10   of protection initially asserted, that Designating Party must promptly notify all other
11   parties that it is withdrawing the mistaken designation.
12          5.2     Manner and Timing of Designations. Except as otherwise provided in this
13   Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
14   ordered, Disclosure or Discovery Material that qualifies for protection under this Order
15   must be clearly so designated before the material is disclosed or produced.
16          Designation in conformity with this Order requires:
17   (a) for information in documentary form (e.g., paper or electronic documents, but
18   excluding transcripts of depositions or other pretrial or trial proceedings), that the
19   Producing Party affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
20   ATTORNEYS’ EYES ONLY” to each page that contains protected material. If only a
21   portion or portions of the material on a page qualifies for protection, the Producing Party
22   also must clearly identify the protected portion(s) (e.g., by making appropriate markings in
23   the margins) and must specify, for each portion, the level of protection being asserted.
24          Before producing the specified documents, the Producing Party must affix the
25   appropriate legend (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
26   ATTORNEYS’ EYES ONLY” to each page that contains Protected Material. If only a
27   portion or portions of the material on a page qualifies for protection, the Producing Party
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     also must clearly identify the protected portion(s) (e.g., by making appropriate markings in
 2
     the margins) and must specify, for each portion, the level of protection being asserted.
 3
     (b) for testimony given in deposition or in other pretrial or trial proceedings, that the
 4   Designating Party identify on the record, before the close of the deposition, hearing, or
 5   other proceeding, all protected testimony and specify the level of protection being
 6   asserted. When it is impractical to identify separately each portion of testimony that is
 7   entitled to protection and it appears that substantial portions of the testimony may qualify
 8   for protection, the Designating Party may invoke on the record (before the deposition,
 9   hearing, or other proceeding is concluded) a right to have up to 21 days to identify the
10   specific portions of the testimony as to which protection is sought and to specify the level
11   of protection being asserted. Only those portions of the testimony that are appropriately
12   designated for protection within the 21 days shall be covered by the provisions of this
13   Stipulated Protective Order. Alternatively, a Designating Party may specify, at the
14   deposition or up to 21 days afterwards if that period is properly invoked, that the entire
15   transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
16   ATTORNEYS’ EYES ONLY.”
17          Parties shall give the other parties notice if they reasonably expect a deposition,
18   hearing or other proceeding to include Protected Material so that the other parties can
19   ensure that only authorized individuals who have signed the “Acknowledgment and
20   Agreement to Be Bound” (Exhibit A) are present at those proceedings. The use of a
21   document as an exhibit at a deposition shall not in any way affect its designation as
22   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
23          Transcripts containing Protected Material shall have an obvious legend on the
24   title page that the transcript contains Protected Material, and the title page shall be
25   followed by a list of all pages (including line numbers as appropriate) that have been
26   designated as Protected Material and the level of protection being asserted by the
27   Designating Party. The Designating Party shall inform the court reporter of these
28   requirements. Any transcript that is prepared before the expiration of a 21-day period

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                             STIPULATION FOR PROTECTIVE ORDER AND ORDER THEREON
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     for designation shall be treated during that period as if it had been designated “HIGHLY
 2
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless otherwise
 3
     agreed. After the expiration of that period, the transcript shall be treated only as actually
 4   designated.
 5   (c) for information produced in some form other than documentary and for any other
 6   tangible items, that the Producing Party affix in a prominent place on the exterior of the
 7   container or containers in which the information or item is stored the legend
 8   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. If
 9   only a portion or portions of the information or item warrant protection, the Producing
10   Party, to the extent practicable, shall identify the protected portion(s) and specify the level
11   of protection being asserted.
12          5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
13   to designate qualified information or items does not, standing alone, waive the Designating
14   Party’s right to secure protection under this Order for such material. Upon timely
15   correction of a designation, the Receiving Party must make reasonable efforts to assure
16   that the material is treated in accordance with the provisions of this Order.
17   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
18          6.1     Challenge. Any Party or Non-Party may challenge a designation of
19   confidentiality at any time that is consistent with the Court's Scheduling Order.
20          6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution
21   process under Local Rule 37.1 et seq. or follow the procedures for informal, telephonic
22   discovery hearings on the Court's website.
23          6.3     Burden. The burden of persuasion in any such challenge proceeding shall be
24   on the Designating Party. Frivolous challenges, and those made for an improper purpose
25   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may expose
26   the Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
27   the confidentiality designation, all parties shall continue to afford the material in question
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     the level of protection to which it is entitled under the Producing Party's designation until
 2
     the Court rules on the challenge.
 3
     7.       ACCESS TO AND USE OF PROTECTED MATERIAL
 4            7.1      Basic Principles. A Receiving Party may use Protected Material that is
 5   disclosed or produced by another Party or by a Non-Party in connection with this case
 6   only for prosecuting, defending, or attempting to settle this litigation. Such Protected
 7   Material may be disclosed only to the categories of persons and under the conditions
 8   described in this Order. When the litigation has been terminated, a Receiving Party must
 9   comply with the provisions of section 15 below (FINAL DISPOSITION).
10            Protected Material must be stored and maintained by a Receiving Party at a location
11   and in a secure manner 1 that ensures that access is limited to the persons authorized under
12   this Order.
13            7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
14   ordered by the court or permitted in writing by the Designating Party, a Receiving Party
15   may disclose any information or item designated “CONFIDENTIAL” only to:
16   (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees
17   of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
18   information for this litigation and who have signed the “Acknowledgment and Agreement
19   to Be Bound” that is attached hereto as Exhibit A;
20   (b) the officers, directors, and employees (including House Counsel) of the Receiving
21   Party to whom disclosure is reasonably necessary for this litigation and who have signed
22   the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
23   (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is
24   reasonably necessary for this litigation and who have signed the “Acknowledgment and
25   Agreement to Be Bound” (Exhibit A);
26   (d) the court and its personnel;
27

28
     1
       It may be appropriate under certain circumstances to require the Receiving Party to store any electronic Protected Material
     in password-protected form.
     _____________________________________________________________________________________________________________
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                                 STIPULATION FOR PROTECTIVE ORDER AND ORDER THEREON
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     (e) court reporters and their staff, professional jury or trial consultants, and Professional
 2
     Vendors to whom disclosure is reasonably necessary for this litigation and who have
 3
     signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 4   (f) during their depositions, witnesses in the action to whom disclosure is reasonably
 5   necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
 6   (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court.
 7   Pages of transcribed deposition testimony or exhibits to depositions that reveal Protected
 8   Material must be separately bound by the court reporter and may not be disclosed to
 9   anyone except as permitted under this Stipulated Protective Order.
10   (g) the author or recipient of a document containing the information or a custodian or other
11   person who otherwise possessed or knew the information.
12           7.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
13   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
14   writing by the Designating Party, a Receiving Party may disclose any information or item
15   designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:
16   (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees
17   of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
18   information for this litigation and who have signed the “Acknowledgment and Agreement
19   to Be Bound” that is attached hereto as Exhibit A;
20   (b) Designated House Counsel of the Receiving Party 2 (1) who has no involvement in
21   competitive decision-making, (2) to whom disclosure is reasonably necessary for this
22   litigation, (3) who has signed the “Acknowledgment and Agreement to Be Bound”
23   (Exhibit A), and (4) as to whom the procedures set forth in paragraph 7.4(a)(1), below,
24   have been followed;3
25

     2
26    It may be appropriate under certain circumstances to limit the number of Designated House Counsel who may access
     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information under this provision.
27
     3
      This Order contemplates that Designated House Counsel shall not have access to any information or items designated
28   “HIGHLY CONFIDENTIAL – SOURCE CODE.” It may also be appropriate under certain circumstances to limit how
     Designated House Counsel may access “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information. For
     example, Designated House Counsel may be limited to viewing “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
     _____________________________________________________________________________________________________________
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     (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this
 2
     litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound”
 3
     (Exhibit A), and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below,
 4   have been followed;
 5   (d) the court and its personnel;
 6   (e) court reporters and their staff, professional jury or trial consultants,4 and Professional
 7   Vendors to whom disclosure is reasonably necessary for this litigation and who have
 8   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
 9   (f) the author or recipient of a document containing the information or a custodian or other
10   person who otherwise possessed or knew the information.
11            7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY
12   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items to Designated
13   House Counsel5 or Experts.6
14   (a)(1) Unless otherwise ordered by the court or agreed to in writing by the Designating
15   Party, a Party that seeks to disclose to Designated House Counsel any information or item
16   that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
17   pursuant to paragraph 7.3(b) first must make a written request to the Designating Party that
18   (1) sets forth the full name of the Designated House Counsel and the city and state of his
19   or her residence, and (2) describes the Designated House Counsel’s current and reasonably
20   foreseeable future primary job duties and responsibilities in sufficient detail to determine if
21
     ONLY” information only if it is filed with the court under seal, or in the presence of Outside Counsel of Record at their
22
     offices.
23
         NOTE: CHANGES HAVE BEEN
24
     4   MADE TO THIS DOCUMENT Alternative: The parties may wish to allow disclosure of
25   information not only to professional jury or trial consultants, but also to mock jurors, to further trial preparation. In that
     situation, the parties may wish to draft a simplified, precisely tailored Undertaking for mock jurors to sign.
26
     5
      Alternative: The parties may exchange names of a certain number of Designated House Counsel instead of following this
27   procedure.
     6
28    Alternative: “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information or items
     may be disclosed to an Expert without disclosure of the identity of the Expert as long as the Expert is not a current officer,
     director, or employee of a competitor of a Party or anticipated to become one.
     _____________________________________________________________________________________________________________
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                                   STIPULATION FOR PROTECTIVE ORDER AND ORDER THEREON
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 1
     House Counsel is involved, or may become involved, in any competitive decision-
 2
     making.7
 3
     (a)(2) Unless otherwise ordered by the court or agreed to in writing by the Designating
 4
     Party, a Party that seeks to disclose to an Expert (as defined in this Order) any information
 5   or item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 6   ONLY” [Optional: or “HIGHLY CONFIDENTIAL – SOURCE CODE”] pursuant to
 7   paragraph 7.3(c) first must make a written request to the Designating Party that (1)
 8   identifies the general categories of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 9   ONLY” [Optional: or “HIGHLY CONFIDENTIAL – SOURCE CODE”] information that
10   the Receiving Party seeks permission to disclose to the Expert, (2) sets forth the full name
11   of the Expert and the city and state of his or her primary residence, (3) attaches a copy of
12   the Expert’s current resume, (4) identifies the Expert’s current employer(s), (5) identifies
13   each person or entity from whom the Expert has received compensation or funding for
14   work in his or her areas of expertise or to whom the expert has provided professional
15   services, including in connection with a litigation, at any time during the preceding five
16   years,8 and (6) identifies (by name and number of the case, filing date, and location of
17   court) any litigation in connection with which the Expert has offered expert testimony,
18   including through a declaration, report, or testimony at a deposition or trial, during the
19   preceding five years.9
20   (b) A Party that makes a request and provides the information specified in the preceding
21   respective paragraphs may disclose the subject Protected Material to the identified
22

     7
23     It may be appropriate in certain circumstances to require any Designated House Counsel who receives “HIGHLY
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information pursuant to this Order to disclose any relevant changes in
24   job duties or responsibilities prior to final disposition of the litigation to allow the Designating Party to evaluate any later-
     arising competitive decision-making responsibilities.
25
     8
      If the Expert believes any of this information is subject to a confidentiality obligation to a third-party, then the Expert
26   should provide whatever information the Expert believes can be disclosed without violating any confidentiality agreements,
     and the Party seeking to disclose to the Expert shall be available to meet and confer with the Designating Party regarding
27   any such engagement.
     9
28     It may be appropriate in certain circumstances to restrict the Expert from undertaking certain limited work prior to the
     termination of the litigation that could foreseeably result in an improper use of the Designating Party’s “HIGHLY
     CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information.
     _____________________________________________________________________________________________________________
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                                   STIPULATION FOR PROTECTIVE ORDER AND ORDER THEREON
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     Designated House Counsel or Expert unless, within 14 days of delivering the request, the
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     Party receives a written objection from the Designating Party. Any such objection must set
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     forth in detail the grounds on which it is based.
 4          (c) A Party that receives a timely written objection must meet and confer with the
 5   Designating Party (through direct voice to voice dialogue) to try to resolve the matter by
 6   agreement within seven days of the written objection. If no agreement is reached, the Party
 7   seeking to make the disclosure to Designated House Counsel or the Expert may initiate the
 8   dispute resolution process under Local Rule 37.1 et seq. or follow the procedures for
 9   informal, telephonic discovery hearings on the Court's website, seeking permission from
10   the court to do so. Any such motion must describe the circumstances with specificity, set
11   forth in detail the reasons why the disclosure to Designated House Counsel or the Expert is
12   reasonably necessary, assess the risk of harm that the disclosure would entail, and suggest
13   any additional means that could be used to reduce that risk. In addition, any such motion
14   must be accompanied by a competent declaration describing the parties’ efforts to resolve
15   the matter by agreement (i.e., the extent and the content of the meet and confer
16   discussions) and setting forth the reasons advanced by the Designating Party for its refusal
17   to approve the disclosure.
18          In any such proceeding, the Party opposing disclosure to Designated House Counsel
19   or the Expert shall bear the burden of proving that the risk of harm that the disclosure
20   would entail (under the safeguards proposed) outweighs the Receiving Party’s need to
21   disclose the Protected Material to its Designated House Counsel or Expert.
22   8.     [intentionally omitted]
23   9.     [intentionally omitted]
24   10.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
25          OTHER LITIGATION
26          If a Party is served with a subpoena or a court order issued in other litigation that
27   compels disclosure of any information or items designated in this action as
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                             STIPULATION FOR PROTECTIVE ORDER AND ORDER THEREON
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 1
     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 2
     that Party must:
 3
     (a) promptly notify in writing the Designating Party. Such notification shall include a copy
 4   of the subpoena or court order;
 5   (b) promptly notify in writing the party who caused the subpoena or order to issue in the
 6   other litigation that some or all of the material covered by the subpoena or order is subject
 7   to this Protective Order. Such notification shall include a copy of this Stipulated Protective
 8   Order; and
 9   (c) cooperate with respect to all reasonable procedures sought to be pursued by the
10   Designating Party whose Protected Material may be affected.10
11   If the Designating Party timely seeks a protective order, the Party served with the
12   subpoena or court order shall not produce any information designated in this action as
13   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
14   before a determination by the court from which the subpoena or order issued, unless the
15   Party has obtained the Designating Party’s permission. The Designating Party shall bear
16   the burden and expense of seeking protection in that court of its confidential material – and
17   nothing in these provisions should be construed as authorizing or encouraging a Receiving
18   Party in this action to disobey a lawful directive from another court.
19   11.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
20            IN THIS LITIGATION
21            (a)      The terms of this Order are applicable to information produced by a Non-
22   Party in this action and designated as “CONFIDENTIAL” or “HIGHLY
23   CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. Such information produced by Non-
24   Parties in connection with this litigation is protected by the remedies and relief provided
25   by this Order. Nothing in these provisions should be construed as prohibiting a Non-Party
26   from seeking additional protections.
27

     10
28     The purpose of imposing these duties is to alert the interested parties to the existence of this Protective Order and to
     afford the Designating Party in this case an opportunity to try to protect its confidentiality interests in the court from which
     the subpoena or order issued.
     _____________________________________________________________________________________________________________
                                                           13

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              (b)      In the event that a Party is required, by a valid discovery request, to produce a
 2
     Non-Party’s confidential information in its possession, and the Party is subject to an
 3
     agreement with the Non-Party not to produce the Non-Party’s confidential information,
 4   then the Party shall:
 5                          1. promptly notify in writing the Requesting Party and the Non-Party that
 6   some or all of the information requested is subject to a confidentiality agreement with a
 7   Non-Party;
 8                          2. promptly provide the Non-Party with a copy of the Stipulated
 9   Protective Order in this litigation, the relevant discovery request(s), and a reasonably
10   specific description of the information requested; and
11                          3. make the information requested available for inspection by the Non-
12   Party.
13            (c)      If the Non-Party fails to object or seek a protective order from this court
14   within 14 days of receiving the notice and accompanying information, the Receiving Party
15   may produce the Non-Party’s confidential information responsive to the discovery request.
16   If the Non-Party timely seeks a protective order, the Receiving Party shall not produce any
17   information in its possession or control that is subject to the confidentiality agreement with
18   the Non-Party before a determination by the court.11 Absent a court order to the contrary,
19   the Non-Party shall bear the burden and expense of seeking protection in this court of its
20   Protected Material.
21   12.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
22            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
23   Protected Material to any person or in any circumstance not authorized under this
24   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing the
25   Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
26   unauthorized copies of the Protected Material, (c) inform the person or persons to whom
27   unauthorized disclosures were made of all the terms of this Order, and (d) request such
28
     11
       The purpose of this provision is to alert the interested parties to the existence of confidentiality rights of a Non-Party and
     to afford the Non-Party an opportunity to protect its confidentiality interests in this court.
     _____________________________________________________________________________________________________________
                                                           14

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 1
     person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is
 2
     attached hereto as Exhibit A.
 3
     13.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 4            PROTECTED MATERIAL
 5            When a Producing Party gives notice to Receiving Parties that certain inadvertently
 6   produced material is subject to a claim of privilege or other protection, the obligations of
 7   the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). 12
 8   This provision is not intended to modify whatever procedure may be established in an e-
 9   discovery order that provides for production without prior privilege review. Pursuant to
10   Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the
11   effect of disclosure of a communication or information covered by the attorney-client
12   privilege or work product protection, the parties may incorporate their agreement in the
13   stipulated protective order submitted to the court.
14   14.      MISCELLANEOUS
15            14.1 Right to Further Relief. Nothing in this Order abridges the right of any person
16   to seek its modification by the court in the future.
17            14.2 Right to Assert Other Objections. By stipulating to the entry of this Protective
18   Order no Party waives any right it otherwise would have to object to disclosing or
19   producing any information or item on any ground not addressed in this Stipulated
20   Protective Order. Similarly, no Party waives any right to object on any ground to use in
21   evidence of any of the material covered by this Protective Order.
22            14.3 [intentionally omitted]
23

24
     12
       Alternative: The parties may agree that the recipient of an inadvertent production may not “sequester” or in any way use
25   the document(s) pending resolution of a challenge to the claim of privilege or other protection to the extent it would be
     otherwise allowed by Federal Rule of Civil Procedure 26(b)(5)(B) as amended in 2006. This could include a restriction
26   against “presenting” the document(s) to the court to challenge the privilege claim as may otherwise be allowed under Rule
     26(b)(5)(B) subject to ethical obligations.
27   An alternate provision could state: “If information is produced in discovery that is subject to a claim of privilege or of
     protection as trial-preparation material, the party making the claim may notify any party that received the information of the
28   claim and the basis for it. After being notified, a party must promptly return or destroy the specified information and any
     copies it has and may not sequester, use or disclose the information until the claim is resolved. This includes a restriction
     against presenting the information to the court for a determination of the claim.”
     _____________________________________________________________________________________________________________
                                                           15

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 1
            14.4 Filing Protected Material. Without written permission from the Designating
 2
     Party or a court order secured after appropriate notice to all interested persons, a Party may
 3
     not file in the public record in this action any Protected Material. A Party that seeks to file
 4   under seal any 3 Protected Material must comply with Local Rule 79-5. Protected Material
 5   may only be filed under seal pursuant to a court order authorizing the sealing of the
 6   specific Protected Material at issue. If a Party's request to file Protected Material under
 7   seal is denied by the court, then the Receiving Party may file the information in the public
 8   record unless otherwise instructed by the court.
 9   15.    FINAL DISPOSITION
10          Within 60 days after the final disposition of this action, as defined in paragraph 4,
11   each Receiving Party must return all Protected Material to the Producing Party or destroy
12   such material. As used in this subdivision, “all Protected Material” includes all copies,
13   abstracts, compilations, summaries, and any other format reproducing or capturing any of
14   the Protected Material. Whether the Protected Material is returned or destroyed, the
15   Receiving Party must submit a written certification to the Producing Party (and, if not the
16   same person or entity, to the Designating Party) by the 60-day deadline that (1) identifies
17   (by category, where appropriate) all the Protected Material that was returned or destroyed
18   and (2) affirms that the Receiving Party has not retained any copies, abstracts,
19   compilations, summaries or any other format reproducing or capturing any of the
20   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
21   archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
22   legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
23   work product, and consultant and expert work product, even if such materials contain
24   Protected Material. Any such archival copies that contain or constitute Protected Material
25   remain subject to this Protective Order as set forth in Section 4 (DURATION).
26   PURSUANT TO STIPULATION, IT IS SO ORDERED.
27   Dated: 8/31/2020                   _________________________________
                                       The Hon. Alexander F. MacKinnon
28
                                                             United States Magistrate Judge
     _____________________________________________________________________________________________________________
                                                           16

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 1
                                                   EXHIBIT A
 2

 3
     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 4

 5          I, _____________________________ [print or type full name], of
 6   _________________ [print or type full address], declare under penalty of perjury that I
 7   have read in its entirety and understand the Stipulated Protective Order that was issued by
 8   the United States District Court for the Northern District of California on [date] in the case
 9   of ___________ [insert formal name of the case and the number and initials assigned
10   to it by the court]. I agree to comply with and to be bound by all the terms of this
11   Stipulated Protective Order and I understand and acknowledge that failure to so comply
12   could expose me to sanctions and punishment in the nature of contempt. I solemnly
13   promise that I will not disclose in any manner any information or item that is subject to
14   this Stipulated Protective Order to any person or entity except in strict compliance with the
15   provisions of this Order.
16          I further agree to submit to the jurisdiction of the United States District Court for the
17   Northern District of California for the purpose of enforcing the terms of this Stipulated
18   Protective Order, even if such enforcement proceedings occur after termination of this
19   action.
20          I hereby appoint __________________________ [print or type full name] of
21   _______________________________________ [print or type full address and telephone
22   number] as my California agent for service of process in connection with this action or any
23   proceedings related to enforcement of this Stipulated Protective Order.
24

25   Date: _________________________________
26   City and State where sworn and signed: _________________________________
27

28   Printed name: ______________________________

     _____________________________________________________________________________________________________________
                                                           17

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 1
     [printed name]
 2

 3
     Signature: __________________________________
 4   [signature]
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                             STIPULATION FOR PROTECTIVE ORDER AND ORDER THEREON
